         Case 1:20-cv-04748-BCM Document 24 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          10/20/20
 WINDWARD BORA LLC,
                                                       20-CV-4748 (BCM)
                Plaintiff,
                                                       ORDER
 -against-
 CONSTANCE R. BROWNE, et al.
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       By Order dated September 23, 2020 (Dkt. No. 23), the Court directed the parties to submit

a joint Pre-Conference Statement by October 19, 2020. No such letter has been filed. No later than

October 22, 2020, the parties shall file their joint Pre-Conference Statement.


Dated: New York, New York                    SO ORDERED.
       October 20, 2020


                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
